                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


JOSE FRANCISCO SANCHEZ,
and JOSE ANTONIO REYES,

                   Plaintiffs,
                                                 Case No. 21-cv-893-pp
     v.

ROADRUNNER TRANSPORTATION SERVICES,
and ROADRUNNER TRANSPORTATION SYSTEMS, INC.,

                   Defendants.


  ORDER APPROVING STIPULATION OF DISMISSAL (DKT. NO. 36) AND
                      DISMISSING CASE


     The parties filed a Joint Stipulation of Dismissal of All Claims. Dkt. No.

36. The court APPROVES the stipulation and ORDERS that this case is

DISMISSED without prejudice.

     Dated in Milwaukee, Wisconsin this 30th day of August, 2021.

                                     BY THE COURT:


                                     _____________________________________
                                     HON. PAMELA PEPPER
                                     Chief United States District Judge




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